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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )              8:11CR53
                     Plaintiff,              )
                                             )
       vs.                                   )               ORDER
                                             )
IGNACIO RUBIO HERNANDEZ,                     )
                                             )
                     Defendant.              )


       This matter is before the court on the oral motion of defendant Ignacio Rubio
Hernandez (Hernandez) for an extension of the pretrial motion deadline. The motion was
made during the arraignment on the Superseding Indictment on April 4, 2011. The
government had no objection to the motion. The oral motion was granted.


       IT IS ORDERED:
       1.     Hernandez’s motion for an extension of time to file pretrial motions is granted.
Hernandez shall have to on or before April 25, 2011, in which to file pretrial motions in
accordance with the progression order.
       2.     The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between April 4, 2011, and April 25,
2011, shall be deemed excludable time in any computation of time under the requirement
of the Speedy Trial Act for the reason defendant's counsel requires additional time to
adequately prepare the case, taking into consideration due diligence of counsel, and the
novelty and complexity of this case. The failure to grant additional time might result in a
miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 4th day of April, 2011.
                                                      BY THE COURT:
                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
